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 8
                                IN THE UNITED STATES DISTRICT COURT
 9
                                   EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                         CASE NO. 1:18-CR-00246-DAD-BAM
12                               Plaintiff,            STIPULATION REGARDING EXCLUDABLE
                                                       TIME PERIODS UNDER SPEEDY TRIAL ACT
13                         v.                          FOR DEFENDANT JOSE LOZANO; ORDER
14   RUBEN CORTEZ-ROCHA,                               CURRENT DATE: February 3, 2020
     JOSE LOZANO,                                      CURRENT TIME: 10:00 p.m.
15    aka “Junior”                                     COURT: Hon. Dale A. Drozd
     SADOL DIAZ-BELTRAN, and
16   RICARDO ZEPEDA-NAVARRO,                           PROPOSED DATE: March 2, 2020
17                               Defendants.           PROPOSED TIME: 10:00 p.m.
                                                       COURT: Hon. Dale A. Drozd
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19
                                                STIPULATION
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            Plaintiff United States of America, by and through its counsel of record, and defendant JOSE
21
     LOZANO (“LOZANO”), by and through his counsel of record, Eric Kersten, hereby stipulate as
22
     follows:
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            1.     On December 3, 2018, defendants LOZANO and ZEPEDA-NAVARRO made their
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     initial appearances and were arraigned on the indictment. Time was excluded under the Speedy Trial
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     Act until their detention hearing on December 5, 2018. Doc. 12.
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            2.     At a detention hearing on December 5, 2018, defendant LOZANO was released on
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     conditions. The Court set a status conference for February 11, 2019, and excluded the time from
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     December 5, 2018, through February 11, 2019 under the Speedy Trial Act. Doc.23.
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 1          3.      At the status conference on February 11, 2019, the Court set a further status conference

 2 on May 13, 2019, and excluded time from February 11, 2019, through May 13, 2019. Doc. 50.

 3          4.      On May 9, 2019, the Court granted the defendant’s request to continue the status

 4 conference to August 26, 2019 at 1:00 pm, and excluded time from May 13, 2019 to August 26, 2019,

 5 inclusive, under the Speedy Trial Act. Doc. 60.

 6          5.      At the status conference on August 26, 2019, the Court set a further status conference on

 7 November 12, 2019, and excluded time from August 26, 2019, through November 12, 2019. Doc. 70.

 8          6.      On November 7, 2019, the Court granted the defendant’s request to vacate the November

 9 12, 2019 status conference and to set a change-of-plea hearing for January 15, 2020, at 10:00 a.m., and
10 excluded time from November 12, 2019, through January 15, 2020. Doc. 78.

11          7.      On January 9, 2020, the Court granted defendant’s request to continue the change-of-plea

12 hearing from January 15, 2020, to February 3, 2020, at 10:00, and excluded time from January 15, 2020

13 through February 3, 2020. Doc. 86.

14          8.      By this stipulation, the parties now move to continue the change-of-plea hearing currently

15 set for February 3, 2020, to March 2, 2020, and to exclude time between February 3, 2020, and March 2,

16 2020, inclusive, under the Speedy Trial Act, 18 U.S.C.§ 3161(h)(7)(A), B(i) and (iv).

17          9.      Defendant LOZANO has reached a tentative plea agreement with the government. The

18 government expects to file a written plea agreement this week. If, however, defendant ultimately does

19 not enter his guilty plea and decides to proceed to trial, the parties agree and stipulate, and request that

20 the Court find the following:
21                  a)      The government has represented that the discovery associated with this case

22          includes over 100 pages of reports and photographs, as well as over 40 audio recordings, many

23          of which are in a foreign language. This discovery has been produced directly to counsel.

24                  b)      Counsel for defendant desires additional time to review the current charges, to

25          review the discovery, to conduct research and investigation related to the charges and potential

26          pretrial motions, and to consult with his client.

27                  c)      Counsel for defendant has various conflicts in other cases between now and the

28          proposed March 2, 2020 hearing that would not reasonably permit him to try this case any time

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 1          between now and at least March 2, 2020.

 2                 d)      Counsel for defendant believes that failure to grant the above-requested

 3          continuance would deny him the reasonable time necessary for effective preparation, taking into

 4          account the exercise of due diligence.

 5                 e)      Based on the above-stated findings, the ends of justice served by continuing the

 6          case as requested outweigh the interest of the public and the defendant in a trial within the

 7          original date prescribed by the Speedy Trial Act.

 8                 f)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

 9          et seq., within which trial must commence, the time period of February 3, 2020 to March 2,

10          2020, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(i) and (iv)

11          because it results from a continuance granted by the Court at defendant’s request on the basis of

12          the Court’s finding that the ends of justice served by taking such action outweigh the best interest

13          of the public and the defendants in a speedy trial.

14          10.    Nothing in this stipulation and order shall preclude a finding that other provisions of the

15 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

16 must commence.

17          IT IS SO STIPULATED.

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19
      Dated: January 29, 2020                                 McGREGOR W. SCOTT
20                                                            United States Attorney
21
                                                              /s/ ANGELA L. SCOTT
22                                                            ANGELA L. SCOTT
                                                              Assistant United States Attorney
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25
     Dated: January 29, 2020                              __ s/ per email authorization______
26                                                        ERIC KERSTEN
                                                          Counsel for Defendant
27                                                        JOSE LOZANO
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 1                                                  ORDER

 2          Pursuant to the parties’ stipulation and good cause shown, IT IS HEREBY ORDERED that the

 3 change-of-plea hearing for defendant JOSE LOZANO currently set for February 3, 2020, is hereby

 4 continued to March 2, 2020 at 10:00 a.m. before the Honorable Dale A. Drozd, and that the time period

 5 between February 3, 2020, and March 2, 2020, inclusive, is excluded from the calculation under the

 6 Speedy Trial Act pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(i) and (iv) for the reasons stated in the

 7 parties’ stipulation.

 8 IT IS SO ORDERED.

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        Dated:    January 29, 2020
10                                                   UNITED STATES DISTRICT JUDGE

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